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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

DAMIEN PARKER, individually and                  )
on behalf of all others similarly situated,      )
                                                 )
                          Plaintiff,             )      Case No. 14 cv 5396
                                                 )
        v.                                       )
                                                 )      Hon. Rebecca R. Pallmeyer
CATAMARAN, LLC, CATAMARAN                        )
PBM OF ILLINOIS II, INC., and                    )      Magistrate Judge Jeffrey T. Gilbert
AEROTEK, INC.,                                   )
                                                 )
                          Defendants.            )

             PLAINTIFF’S UNOPPOSED MOTION FOR FINAL APPROVAL
                 OF THE PARTIES’ CLASS ACTION SETTLEMENT

        Plaintiff, Damien Parker, individually and on behalf of a class of persons similarly

situated, by his attorneys, respectfully moves for the entry of an Order granting final approval of

the Parties’ Class Action Settlement (the “Settlement Agreement”). In support of his motion,

Plaintiff submits a supporting Memorandum of Law, the Declarations of Class Counsel, and the

Declaration of Kelly Kratz as authorized agent of the Claims Administrator, and state as follows:

        1.         On April 22, 2015, this Court granted preliminary approval of the settlement of

the Plaintiff’s and the IMWL Class Members’ claims (the “Settlement”). (Doc. No. 70).

        2.         Final approval is appropriate where the court determines that a settlement is fair,

adequate, and reasonable. Synfuel Techs., Inc. v. DHL Express (USA), Inc., 463 F.3d 646, 652

(7th Cir. 2005).

        3.         The Settlement in this case was achieved in good faith and through arms-length

negotiations, and is not the product of fraud or collusion.

        4.         The Settlement offers substantial monetary relief to the IMWL Class Members.
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          5.    The Settlement is overwhelmingly supported by class members. Only two of the

949 IMWL Class Members submitted a request for exclusion, and no Class Member objected to

the Settlement. These facts show strong support for the Settlement.

          6.    Plaintiff has provided the IMWL Class Members with adequate notice of the

terms and conditions of the Settlement in a manner intended to maximize their due process

rights.

          7.    Additionally, experienced Class Counsel have extensively analyzed the claims

and issues herein, and certify that the Settlement is fair, reasonable, and adequate, and in the best

interest of the IMWL Class Members. Thus, the Court should grant final approval of the

Settlement, find the Settlement fair, reasonable, adequate, and in the best interests of the IMWL

Class Members, approve Class Counsel’s request for an award of attorneys’ fees and costs,

approve the Incentive Awards to the Named Plaintiff and the Opt-In Plaintiff, and enter the

proposed final approval order dismissing this action.

          WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter the

proposed Final Approval and Dismissal Order attached as Exhibit 1 to Plaintiff’s Memorandum

of Law.

                                              Respectfully submitted,

                                              DAMIEN PARKER, individually and on behalf of a
                                              certified class of persons similarly situated,

                                              /s/ James X. Bormes
                                              One of Plaintiff’s Attorneys

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